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 8
                                UNITED STATES DISTRICT COURT
 9
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                     SAN FRANCISCO DIVISION
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     UNITED STATES OF AMERICA,                        Case No. 14-CR-00175
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                                                      COMMENTS OF THE CALIFORNIA
14                            Plaintiff,              PUBLIC UTILITIES COMMISSION
                                                      ON JOINTLY PROPOSED
15          vs.                                       PROBATION CONDITIONS
16   PACIFIC GAS AND ELECTRIC COMPANY,
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18                            Defendant.

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28                   COMMENTS OF THE CALIFORNIA PUBLIC UTILITIES COMMISSION
                          ON JOINTLY PROPOSED PROBATION CONDITIONS
     343974182                        Case No. 14-CR-00175
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 1          On July 1, 2020 (ECF No. 1233), the Court invited interested parties to
 2   comment on whether the probation conditions jointly proposed by Pacific Gas and
 3   Electric Company, the U.S. Government, and the Federal Monitor (ECF No. 1227)
 4   ought to be accepted.
 5          The California Public Utilities Commission has reflected on the proposed
 6   conditions of probation and does not oppose or otherwise disagree with their
 7   implementation. The Commission appreciates the Court’s request for input on this
 8   issue and in this ongoing proceeding.
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10   July 16, 2020                            Respectfully submitted,
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12                                      By:   /s/    Christofer C. Nolan

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16                                            UTILITIES COMMISSION

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                                        Case No. 14-CR-00175
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